 Case 3:14-cv-00551-CRS Document 64 Filed 03/05/18 Page 1 of 5 PageID #: 473




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

PATRICIA ANN TRUESDELL and                    )
DARVIN A. HEIDER, individually and            )
on behalf of others similarly situated,       )
                                              )
                Plaintiffs,                   )
                                              )
v.                                            ) CAUSE NO: 3:14-cv-551-CRS
                                              )
LINK SNACKS, INC.,                            )
                                              )
                Defendant.                    )

                   JOINT MOTION FOR APPROVAL OF SETTLEMENT

        Plaintiffs Patricia Ann Truesdell and Darvin A. Heider, individually and on behalf of

others similarly situated, and Defendant Link Snacks, Inc., by their respective counsel, jointly

petition this Court for entry of an Order approving the settlement of this action. In support

thereof, the parties state as follows:

        1.      On August 1, 2014, Patricia Ann Truesdell and Darvin A. Heider, individually

and on behalf of other similarly situated employees, filed the instant action against Link Snacks,

Inc. alleging violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201 et seq.

        2.      The instant action was filed as a putative Collective Action pursuant to Section

216(b) of the FLSA. On September 22, 2015, the Court issued a Memorandum Opinion and

Order granting Plaintiffs’ Motion for Conditional Certification and for Notice to Potential

Plaintiffs of the collective action. On January 7, 2016, the Court issued a Memorandum Opinion

and Order denying Defendant’s Motion for Reconsideration of the September 22, 2015

Memorandum Opinion and Order.
       Case 3:14-cv-00551-CRS Document 64 Filed 03/05/18 Page 2 of 5 PageID #: 474




           3.    Eighteen (18) individuals timely consented to become members of the collective

action, including Patricia Ann Truesdell and Darvin A. Heider. Under the terms of the proposed

settlement, all 18 of these individuals will be eligible to receive some compensation.

           4.    The parties, through their respective counsel, have carefully and exhaustively

engaged in settlement negotiations, culminating with an agreement to settle the Collective

Action, subject to approval of the Court, which was reached during a mediation session on

October 31, 2017. A copy of the Collective Action Settlement and Release Between Plaintiffs

and Defendant (the “Agreement”) is being filed under seal contemporaneously with this motion

in accordance with the Court’s March 2, 2018 Order Granting Defendant’s Unopposed Motion to

File Settlement Agreement Under Seal.

           5.    Under common law, settlements of FLSA claims must be approved by a Court of

competent jurisdiction. See, e.g., Barr v. Cleveland Metroparks, 2018 WL 692025 (N.D.Ohio

February 2, 2018), slip copy, citing Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

1352-53 (11th Cir. 1982).

           6.    Pursuant to the terms of the Agreement, Link Snacks, Inc. shall pay compensation

and liquidated damages to Patricia Ann Truesdell, Darvin A. Heider, and the sixteen (16) other

individuals who elected to participate in the Collective Action (“Opt-In Plaintiffs”), using a

common formula to determine each individual’s share of the settlement proceeds. Said formula

was based on the number of weeks during which each Opt-In Plaintiff was employed by Link

Snacks, Inc. using a two (2) year statute of limitations period.

           7.    Pursuant to the terms of the Agreement, three (3) Opt-In Plaintiffs who were not

employed for any weeks during their two (2) year statute of limitations period (Karen Heidrick,

Kim M. Peck, and Mark L. Smith) will receive a lump sum payment. Patricia Ann Truesdell and




	                                                2	  
       Case 3:14-cv-00551-CRS Document 64 Filed 03/05/18 Page 3 of 5 PageID #: 475




Darvin A. Heider, as the named plaintiffs in the Collective Action, will each receive an

additional lump sum payment, which reflects compensation for the time and effort Ms. Truesdell

and Mr. Heider have devoted to litigating the Collective Action during the time period August 1,

2014 – present including, but not limited to, physically attending the October 31, 2017 mediation

in Minneapolis, Minnesota. The remainder of the settlement funds will then be divided on a pro

rata basis among the fifteen (15) individuals who were employed for one or more weeks during

their two (2) year statute of limitations period with each such individual receiving a pro rata

share based on the number of weeks they were employed by Defendant during their two (2) year

statute of limitations period.

           8.    Pursuant to the terms of the Agreement, Plaintiffs’ counsel shall be paid a set

amount as reasonable attorney’s fees and costs. In arriving at this figure, and in order to

facilitate settlement, Plaintiffs’ counsel agreed to limit the amount of attorney’s fees and costs to

those incurred through the date on which formal settlement discussions began (January 19,

2017). As such, all attorney’s fees and costs incurred from January 20, 2017 – present, including

the attorney’s fees and costs incurred as a result of the October 31, 2017 mediation in

Minneapolis, Minnesota, plus those incurred, and expected to be incurred, in finalizing and

administering the settlement, were excluded from the negotiated lump sum attorney’s fees and

costs amount. However, pursuant to the parties’ agreement, the attorney’s fees and costs to be

paid to Plaintiffs’ counsel are inclusive of all fees and costs that have been, and will be, incurred

in representing Patricia Ann Truesdell, Darvin A. Heider, and the Opt-In Plaintiffs in this matter

from its investigation through Court approval, administration, and completion of the settlement.

           9.    The settlement was negotiated at arm’s length by experienced counsel concerning

bona fide disputes between their clients with respect to potential liability and damages pursuant




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       Case 3:14-cv-00551-CRS Document 64 Filed 03/05/18 Page 4 of 5 PageID #: 476




the FLSA. Furthermore, the parties engaged an experienced mediator, Robert Reinhart of

Reinhart Mediation, LLC in Saint Paul, Minnesota, in order to assure the settlement would

represent a fair, just, and adequate compromise of the various issues in this case.

           10.    Additional factors indicating fairness are present, including the fact that the

parties’ counsel thoroughly investigated the issues; the parties conserved substantial time and

expense that would have been expended in the event of formal discovery, dispositive motions,

and/or trial; and the class members have avoided a much longer wait before they received any

compensation ultimately found due to them by settling the case at this stage of the proceedings.

           WHEREFORE, the parties believe the settlement is a fair and reasonable resolution of the

disputed issues and should be approved by the Court through the entry of the proposed Order.

	  

                                                            Respectfully submitted,

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       Case 3:14-cv-00551-CRS Document 64 Filed 03/05/18 Page 5 of 5 PageID #: 477




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